Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 1 of 11 PageID 1




                            IN THE UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

 CHERRENE TAYLOR,

               Plaintiff,

 v.                                              CASE NO.:

 WELLS FARGO BANK, NATIONAL
 ASSOCIATION d/b/a WELLS FARGO                   JURY TRIAL DEMANDED
 DEALER SERVICES,

                Defendant.
                                      /

                                     COMPLAINT

       Plaintiff, Cherrene Taylor (hereinafter “Plaintiff”), by and through the undersigned

counsel, sues Defendant, Wells Fargo, National Association d/b/a Wells Fargo Dealer

Services (hereinafter “Defendant”), and in support thereof respectfully alleges violations

of the Federal Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and

the Florida Consumer Collection Practices Act, Florida Statute § 559.72(7) et seq.

(“FCCPA”).

                                    INTRODUCTION

        1.      Plaintiff alleges violation(s) of the Federal Telephone Consumer

 Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection

 Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

        2.      The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”




                                             1
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 2 of 11 PageID 2




        3.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).

        4.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

 intended to give telephone subscribers another option: telling the autodialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        5.      According    to   the   Federal   Communications      Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless    Phones,    Federal   Communications       Commission,     (May     27,   2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

        6.      Likewise, the FCCPA is designed and adopted to reinforce individual

 consumers’ rights.

                              JURISDICTION AND VENUE

        7.      This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of interest, attorney fees and costs.




                                              2
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 3 of 11 PageID 3




        8.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331.

        9.      Venue is proper in this District as Plaintiff resides in this District, the

 violations described in this Complaint occurred in this District, and, Defendant transacts

 business within this District.

                                  FACTUAL ALLEGATIONS

        10.     Plaintiff is a natural person, and citizen of the State of Florida, whom

 resides in Charlotte County, Florida.

        11.     Plaintiff is a “consumer” as defined in Fla. Stat. § 559.55(8).

        12.     Plaintiff is an “alleged debtor.”

        13.     Defendant is a person collecting an alleged obligation which arises out of

 personal, family or household transactions.

        14.     The alleged debt that is the subject matter of this Complaint is a

 “consumer debt” as defined by Florida Statute § 559.55(6), as it arises from personal,

 family or household transactions.

        15.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014), as she is the subscriber to and regular user of the phone number at issue.

        16.     Defendant is a corporate entity responsible for attempting to collect a

 consumer debt from Plaintiff and is transacting business in the State of Florida.

        17.     Defendant, Wells Fargo is a corporation with its principal place of

 business located at 420 Montgomery St., San Francisco, CA 94163 and which conducts



                                               3
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 4 of 11 PageID 4




 business in the State of Florida through its registered agent, Corporation Service

 Company, 1201 Hays St, Tallahassee, FL 32301-2525.

        18.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number at issue, (252) XXX-6140 (hereinafter “cellular telephone number”); and was the

 called party and recipient of Defendant’s hereafter described calls.

        19.     At all times material hereto, Defendant attempted to collect on a debt, loan

 account number XXXXXX4042 (hereafter the “subject account”), which was issued

 and/or serviced by Defendant.

        20.     Defendant intentionally, knowingly and/or willfully harassed and abused

 Plaintiff on numerous occasions by calling Plaintiff’s cellular telephone number, from

 February 2011 through the present date, with such frequency as can reasonably be

 expected to harass, all in an effort related to the collection of the subject account.

        21.     Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using and “automatic telephone dialing

 system” (hereinafter “ATDS”) which has the capacity to store or produce telephone

 numbers to be called, without human intervention, using a random or sequential number

 generator (including, without limitation, to a predictive dialer) or an artificial or

 prerecorded voice; and to dial such numbers as specified by 47 U.S.C. § 227(a)(1).

        22.     Furthermore, each of the calls at issue were placed by Defendants using a

 “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        23.     In or about February 2011, Defendant initiated its campaign of phone calls

 to Plaintiff on Plaintiff’s cellular telephone number.



                                                4
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 5 of 11 PageID 5




          24.   Upon receipt of the calls, Plaintiff’s caller ID identified the calls were

 being initiated from, including but not limited to the following telephone numbers: (800)

 289-8004.

          25.   In or about May 2015, upon receipt of a call from Defendant, Plaintiff

 answered the call, received Defendants’ prerecorded message, held on the line to be

 connected to a live agent/representative and informed the agent/representative of

 Defendant she was not behind nor late on her monthly payments, its incessant calls were

 harassing her, and, demanded Defendant cease all calls to her aforementioned cellular

 telephone number, therefore, revoking any previously perceived express consent to be

 called using the Defendants’ ATDS, predictive dialer, prerecorded message or artificial

 voice.

          26.   During     the      May   2015,       phone   conversation   with   Defendant’s

 agent/representative, Plaintiff expressly revoked any perceived express consent

 Defendant may have believed it had to Defendant’s placement of telephone calls to

 Plaintiff’s aforementioned cellular telephone number by the use of an ATDS or

 prerecorded or artificial voice.

          27.   Each subsequent call Defendant made to Plaintiff’s cellular telephone

 number were done so without the “express permission” of Plaintiff.

          28.   Despite Plaintiff informing Defendant to stop calling, Defendant’s calls to

 Plaintiff’s cellular telephone number continue.

          29.    Defendant has called Plaintiff in excess of one hundred (100) times since

 February 2011, in an attempt to collect the subject account.



                                                  5
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 6 of 11 PageID 6




         30.     Defendant attempted to collect a debt from Plaintiff by this campaign of

 telephone calls.

         31.     Due to the high call volume of calls placed by Defendant to cellular

 telephone number, Plaintiff was unable to keep a complete log of each and every call she

 received from Defendant; however, the following is a sampling of the calls which

 Plaintiff received in May 2015:

                      i.   One call on May 1, 2015 at 11:44 a.m.;

                     ii.   One call on May 2, 2015 at 10:43 a.m.;

                    iii.   One call on May 4, 2015 at 12:19 p.m.;

                    iv.    One call on May 5, 2015 at 12:54 p.m.;

                     v.    One call on May 6, 2015 at 6:49 p.m.;

                    vi.    One call on May 7, 2015 at 6:05 p.m.;

                    vii.   Two calls on May 8, 2015 at 10:25 a.m. and 7:20 p.m.;

                 viii.     One call on May 9, 2015 at 12:23 p.m.;

                    ix.    One call on May 11, 2015 at 12:42 p.m.;

                     x.    Two calls on May 13, 2015 at 9:46 a.m. and 4:56 p.m.;

                    xi.    Two calls on May 14, 2015 at 11:35 a.m. and 6:05 p.m.;

                    xii.   One call on May 16, 2015 at 12:02 p.m.;

                 xiii.     One call on May 18, 2015 at 11:39 a.m.; and

                 xiv.      Two calls on May 19, 2015 at 4:53 p.m. and 5:04 p.m.

         32.     Defendant has, or should be in possession and/or control of, call logs,

 account notes, autodialed reports and/or other records that detail the exact number of all

 calls it made to Plaintiff.



                                                  6
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 7 of 11 PageID 7




        33.     Despite actual knowledge of its wrongdoing, Defendant continued its

 campaign of abuse, calling Plaintiff despite not having Plaintiff’s express permission to

 call her cellular telephone number.

        34.     Defendant has a corporate policy(ies) and/or procedure(s) which are

 structured as to continue to call individuals like Plaintiff, despite these individuals

 revoking any consent Defendant may have had to make such calls.

        35.     Defendant’s corporate policy(ies) and procedures provided no means for

 Plaintiff to have Plaintiff’s cellular telephone number removed from Defendant’s call list

 or otherwise permit the cessation of and/or suppression of calls to Plaintiff from

 Defendant.

        36.     Defendant has a corporate policy(ies) of using an ATDS or prerecorded or

 artificial voice message to collect debts from individuals such as Plaintiff for its financial

 benefit.

        37.     Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

        38.     Defendant has many similar complaints from consumers across the

 county, as those alleged in this lawsuit, by Plaintiff.

        39.     Plaintiff expressly revoked consent to Defendant’s placement of telephone

 calls to Plaintiff’s cellular telephone number by the use of an ATDS or prerecorded or

 artificial voice immediately upon Defendant’s placement of the calls.

        40.     Defendants knowingly employ methods and/or has a corporate policy(ies)

 designed to harass and abuse individuals.



                                                7
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 8 of 11 PageID 8




         41.    Defendant knowingly employs methods and/or has a corporate policy(ies)

 that do not permit the cessation of or suppression of autodialed calls to Plaintiff’s cellular

 telephone number.

         42.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         43.    Not a single call Defendant placed to Plaintiff’s cellular telephone

 numbers was for “emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         44.    Defendant willfully or knowingly violated the TCPA with respect to

 Plaintiff.

         45.    For each call Defendant placed to Plaintiff’s cellular telephone without

 express consent, Plaintiff suffered from the occupation of her cellular telephone line and

 cellular telephone by unwelcomed calls which made the cellular phone unavailable for

 legitimate incoming or outgoing calls.

         46.    For each call Defendant placed to Plaintiff’s cellular telephone without

 express consent, Plaintiff suffered from unnecessary expenditure of her time. The time

 Plaintiff spent on answered calls was unnecessary because she repeatedly asked for calls

 to stop. Additionally, Plaintiff expended unnecessary time for unanswered calls by

 dealing with notifications and call logs that reflected the unwanted calls. Furthermore,

 this also impaired the usefulness of these features of Plaintiff’s cellular telephone, which

 are designed to inform the user of important missed communications.




                                               8
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 9 of 11 PageID 9




        47.     Each and every call Defendant placed to Plaintiff’s cellular telephone

 without express consent resulted in the injury of unnecessary expenditure of Plaintiff’s

 cellular telephone’s battery power.

        48.     Each and every call Defendant placed to Plaintiff’s cellular telephone

 without express consent resulted in the injury of trespass to Plaintiff’s chattel, namely her

 cellular telephone and cellular telephone services.

        49.     As a result of aforementioned tenacious phone calls and collection efforts,

 Plaintiff was affected, both personally and individually, as she experienced an invasion of

 privacy. Plaintiff also suffered severe stress, worry, anxiety, nervousness, hypertension,

 embarrassment, humiliation, intimidation, headaches, dizziness, as well as a general loss

 of happiness, sleep, and further suffered an invasion of privacy, strain with her marriage

 and familial relationships. Additionally, Plaintiff was hindered by the loss of phone

 battery life and phone minutes as well as the cost of additional charging, and the intrusion

 upon and occupation of the capacity of her cell phone. All of the abovementioned were

 caused by, and/or directly related to, Defendant’s attempts to collect a consumer debt

 allegedly owed by Plaintiff.

                                         COUNT I
                                  (Violation of the TCPA)

        50.     Plaintiff re-alleges and fully incorporates Paragraphs one (1) through

 forty-nine (49) above as if fully stated herein.

        51.     Defendant caused placement of non-emergency telephone calls to

 Plaintiff’s cellular telephone number using an ATDS or prerecorded or artificial voice




                                               9
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 10 of 11 PageID 10




  without Plaintiff’s prior express consent and in violation of federal law, including,

  without limitation, 47 U.S.C. § 227(b)(1)(A)(iii).

         52.     Defendants willfully and/or knowingly violated the TCPA, with respect to

  all if their calls made to Plaintiff’s cellular telephone numbers after Plaintiff revoked

  consent to be called and without Plaintiff’s express consent.

         53.     Defendant willfully and/or knowingly violated the TCPA, specifically for

  each of the calls made to Plaintiff’s cellular telephone numbers after Plaintiff notified

  Defendants on or about May 2015, when Plaintiff verbally withdrew, revoked, and/or

  terminated any alleged perceived consent Defendant believed it had to contact Plaintiff,

  and told Defendant to cease calling Plaintiff.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against Defendant for statutory damages, punitive damages, actual

  damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

  any other such relief the Court may deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

         54.     Plaintiff re-alleges and fully incorporates Paragraphs one (1) through

  forty-nine (49) above as if fully stated herein.

         55.     At all times relevant to this action, Defendant is subject to and must abide

  by the law of the State of Florida, including, without limitation, Fla. Stat. § 559.72.

         56.     Defendant has violated Fla. Stat. §559.72(7) by willfully engaging in

  conduct with such frequency which can reasonably be expected to harass the debtor.




                                                10
Case 2:16-cv-00704-SPC-CM Document 1 Filed 09/16/16 Page 11 of 11 PageID 11




         57.     Defendant has violated Fla. Stat. §559.72(7) by willfully engaging in other

  conduct which can reasonably be expected to abuse or harass the debtor.

         58.     Defendant actions has directly and proximately resulted in Plaintiff’s prior

  and continuous sustaining of damages as described by Fla. Stat. § 559.77.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against Defendant for statutory damages, punitive damages, actual

  damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

  any other such relief the Court may deem just and proper.

                                                Respectfully submitted,



                                                _______________________
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                                               11
